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              Judgment in a Criminal Case - D. Massachusetts
               Statement of Reasons - Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                               District of Massachusetts

       UNITED STATES OF AMERICA                                                                    STATEMENT OF REASONS
                        V.
       CHEPIEL SANCHEZ, AKA "Chip"                                             Case Number: 1: 02 CR 10261               - 001 - RWZ
                                                                                  John Palmer, Esq.
                                                                               Defendant’s Attorney


              The court adopts the factual findings and guideline application in the presentence report.

                                                                            OR
  ✘           The court adopts the factual findings and guideline application in the presentence report, except (see attachment, if necessary):

        Par. 86 The amounts derived from the information provided by Javier Laboy150 grams, shall be deleted.
        The amounts derived from the drug debt shall be adjusted to debts of 43,900 & the amount of 1220 grams,
        shall be changed to 439 grams and the amount attributed to the testimony of Juan Velasquez, 2000 grams
        shall be deleted. All references of MDMA (ecstasy), shall be deleted. All references to cocaine shall be
        deleted and the base offense level shall be changed from 34 to 32.
        Par. 88 The role adjustment shall be changed from plus 4 to plus 3.
                                                                                                                   ✘   See Continuation Page
Guideline Range Determined by the Court:

              Total Offense Level:                       32
              Criminal History Category:                 IV
              Imprisonment Range:                        168         to 210                 months
              Supervised Release Range:                  4           to 5                   years
              Fine Range:                            $ $20,000.00                 to $ $11,000,000.00



                                                                                     02/23/05
Defendant’s Soc. Sec. No.:     000/00/0940
                                                                              Date of Imposition of Judgment
Defendant’s Date of Birth:     00/00/1977
                                                                                      s/ Rya W. Zobel
Defendant’s USM No.:
                                                                              Signature of Judicial Officer
Defendant’s Residence Address:
                                                                                     The Honorable Rya W. Zobel
13 Dover Street
Haverhill, Mass. 01830                                                               Judge, U.S. District Court
                                                                              Name and Title of Judicial Officer

                                                                                      3/7/05
                                                                              Date
Defendant’s Mailing Address:

Plymouth House of Correction
26 Long Pond Road
Plymouth, Mass. 02360
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 ✘ Fine waived or below the guideline range because of inability to pay.
Total Amount of Restitution:       $

     Discretionary restitution is not ordered because the complication and prolongation of the sentencing process resulting from
     the fashioning of a restitution order outweighs the need to provide restitution to any victims, pursuant to 18 U.S.C. § 3663(a)(B)(ii)
     (or in offenses committed before April 23, 1996, pursuant to 18 U.S.C. § 3663(d)).
     Restitution pursuant to the mandatory victim restitution provisions is not ordered in this title 18 property offense because
     the number of identifiable victims is so large as to make restitution impracticable, pursuant to 18 U.S.C. § 3663A(c)(3)(A).

     Restitution pursuant to the mandatory victim restitution provisions is not ordered in this title 18 property offense because
     determining complex issues of fact and related to the cause of amount of the victim’s losses would complicate or prolong the sentencing
     process to a degree that the need to provide restitution to any victim is outweighed by the burden on the sentencing process, pursuant to
     18 U.S.C. § 3663A(c)(3)(B).

     For offenses committed on or after September 13, 1994 but before April 23, 1996 that require the total amount of loss to be
     stated, pursuant to Chapters 109A, 110, 110A, and 113A of Title 18, restitution is not ordered because the economic circumstances of the
     defendant do not allow for the payment of any amount of a restitution order, and do not allow for the payment of any or some portion of
     a restitution order in the foreseeable future under any reasonable schedule of payments.

     Partial restitution is ordered, pursuant to 18 U.S.C. § 3553(c), for the following reason(s):
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                                                  STATEMENT OF REASONS


   The sentence is within the guideline range, that range does not exceed 24 months, and the court finds no reason to depart from the
   sentence called for by the application of the guidelines.




                                                                    OR

    The sentence is within the guideline range, that range exceeds 24 months, and the sentence is imposed for the following reasons:
    The low end of the guideline is fair and appropriate.




                                                                    OR

   The sentence departs from the guideline range:

          upon motion of the government, as a result of a defendant’s substantial assistance, or

          for the following specific reason(s):




                                                                                                                  See Continuation Page
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           ADDITIONAL FINDINGS AND GUIDELINES APPLICATIONS EXCEPTION

    Par. 91 The adjusted offense level shall be changed from 40 to 35.

    Par. 93 The total offense level is changed from 35 to 32.




             ADDITIONAL REASONS FOR DEPARTURE FROM THE GUIDELINE RANGE
